Case 2:04-cv-02181-.]PI\/|-tmp Document 113 Filed 07/05/05 Page 1 of 3`" Page|D 150

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IN THE UNITED STATES DISTRICT COURT 05'JUL' _5 p" |*; h\

FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION Tt{)MPS M. UJI.D
U.S. D!STHU mm
w ot itt SAEMPHS
COMMODITY FUTURES TRAD[NG
COMMISSION,
Plaintiff, Case No. 04-2181 D AN
vs.

FXTRADE FINANCLAL, LLC, et al.,
Defendants,
JOSEPH J. CECALA, JR.,

Relief Defendant.

 

ORDER OF REFERENCE

 

Before the Court is Plaintiff’s Motion to Impose Discovery Sanctions Against Defendant
Jeffrey Mischier filed on June 30, 2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a Report and
Recommendation. Any exceptions to the Magistrate Judge’s order shall be made by motion within
ten (10) days of the order. Further, all exceptions shall be stated with particularity

IT IS SO ORDERED this 540:iay of . .

 
    

UrVITED STATES DISTRICT JUDGE

Thts document entered on the docket sheet in compliance
with nula 53 and/or rs(a) FRCP on '/ ' 5

 

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Honorable Bernice Donald
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